          Case 2:08-cr-00449-WBS Document 133 Filed 09/09/11 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   HEIKO P. COPPOLA
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2770
 5
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) CASE NO. 2:08-CR-0449 WBS
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       ) [PROPOSED] ORDER TO CONTINUE JURY
                                   ) TRIAL AND EXCLUDE TIME
14   TIEN THE LE                   )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17
18        This matter came before the Court for trial confirmation hearing
19   on September 6, 2011.    A superseding indictment was returned against
20   the defendant on September 1, 2011, adding an additional charge of
21   mail fraud to the original charges of conspiracy to manufacture at
22   least 1000 marijuana plants and manufacturing at least 1000 marijuana
23   plants.   The Court previously excluded time up to and including the
24   original trial date of September 20, 2011.
25        Based upon the new charge in the superseding indictment,
26   defendant requested a continuance of the trial date to December 13,
27   2011, which the government did not oppose.        The government will
28   produce approximately 3000 pages of additional discovery related to

                                           1
           Case 2:08-cr-00449-WBS Document 133 Filed 09/09/11 Page 2 of 3


 1   the mail fraud charge that defense counsel will need to review and
 2   investigate in order to be adequately prepared for trial in this
 3   matter.   Additionally, with the remainder of the defendants having
 4   pleaded guilty, defense counsel needed additional time to prepare for
 5   trial on the original charges of conspiracy and manufacturing.
 6   Defense counsel has a number of other pending matters including at
 7   least one Ninth Circuit brief due, that make December 13, 2011 the
 8   best possible date for jury trial in this matter.
 9         The parties stipulate and agree that the ends of justice are
10   served by the Court continuing the trial date and excluding time
11   under the Speedy Trial Act, so that counsel for the defendant may
12   have reasonable time necessary for effective preparation, taking into
13   account the exercise of due diligence.        18 U.S.C. § 3161(h)(7)(B)(iv)
14   and Local Code T-4.
15         It is hereby ordered that jury trial in the above-entitled
16   matter is continued until December 13, 2011.
17         It is further ordered that a trial confirmation hearing shall be
18   held on November 7, 2011.
19         Is further ordered that time between September 20, 2011 and
20   December 13, 2011 is excluded from the calculation of time under the
21   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
22   Code T-4.
23   ///
24   ///
25   ///
26
27
28

                                            2
             Case 2:08-cr-00449-WBS Document 133 Filed 09/09/11 Page 3 of 3


 1           The Court finds that the interests of justice served by
 2   granting this continuance outweigh the best interests of the public
 3   and the defendant in a speedy trial.          18 U.S.C. § 3161(h)(7)(A).
 4   DATE:    September 7, 2011
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              3
